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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     Miami Division


                                      Case No.: 19-cv-24851



  AMADO ALBERTO VALE,

         Plaintiff,

  vs.

  USA SHEET METAL INC,
  a Florida Profit Corporation,
  and CARLOS E ROSA, individually,

        Defendants.
  _________________________________/


                                    NOTICE OF REMOVAL


         Defendants, USA SHEET METAL INC and CARLOS E. ROSA, by and through their

  undersigned counsel and pursuant to 28 U.S.C. § 1331 and 28 U.S.C. §1441(a), file this Notice

  of Removal of this cause from the Eleventh Judicial Circuit in and for Miami-Dade County,

  Florida, to the United States District Court for the Southern District of Florida and allege as

  follows:

         1.      Defendants are named in a civil action brought in the Circuit Court of the 11th

  Judicial Circuit in and for Miami-Dade County, Florida captioned Amado Alberto Vale v. USA

  Sheet Metal Inc, a Florida Profit Corporation, and Carlos E Rosa, individually, Case No. 2019-

  014741-CA-01. See Exhibit A.
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          2.       Plaintiff served both Defendants with a Summons and Complaint on November 6,

  2019. See composite Exhibit B. Accordingly, this Notice of Removal is timely filed within

  thirty (30) days after the date of receipt of the summons and a copy of the initial pleading setting

  the claim for relief upon which this action is based. See 28 U.S.C. § 1446(b); Murphy Brothers,

  Inc., v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 354 (1999)(holding that thirty day time

  period under removal statute begins to run from the date of formal service). Pursuant to

  Fed.R.Civ.P.81(c), Defendants may file their responsive pleading to Plaintiff’s Complaint within

  seven days after the filing of this Notice of Removal. Fed. R. Civ. P. 81(c).

          3.       Plaintiff filed a three-count Complaint alleging unpaid overtime wages and

  retaliation brought pursuant to the Fair Labor Standards Act, 29 U.S.C. §201, et seq. See Exhibit

  A. This Court has original subject matter jurisdiction over Plaintiff’s Complaint pursuant to 28

  U.S.C. §1331.1 Breuer v. Jim’s Concrete of Brevard, Inc., 538 U.S. 691, 694 (2003)[explaining

  that district courts have original jurisdiction over FLSA claims pursuant to §1331 and §1337(a)].

          4.       The United States District Court for the Southern District of Florida embraces the

  county in which the state court action is now pending and, therefore, this Court is a proper venue

  for this action pursuant to 28 U.S.C. § 105(a)(1).

          5.       As required by 28 U.S.C. § 1446(d), a Notice to State Court of Removal, along

  with a copy of this Notice of Removal, will be promptly filed in the Circuit Court of the Eleventh

  Judicial Circuit in and for Miami-Dade County, Florida and served upon counsel. A copy of the

  Notice to State Court of Removal is attached as Exhibit C.




  1The district courts shall have original jurisdiction of all civil actions arising under the Constitution, laws
  or treatises of the United States.


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         WHEREFORE, Defendants respectfully request that this matter be removed from the

  Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade County, Florida to the

  United States District Court for the Southern District of Florida.

         DATED this 22nd day of November 2019.

                                                        Respectfully submitted,


                                                                s/Ena T. Diaz
                                                        Ena T. Diaz
                                                        Fla. Bar No. 0090999
                                                        ENA T. DIAZ, P.A.
                                                        Attorney for Defendants
                                                        999 Ponce De Leon Blvd. – Ste 720
                                                        Coral Gables, FL 33134
                                                        Tel.: (305) 377-8828
                                                        Fax: (305) 356-1311
                                                        ediaz@enadiazlaw.com


                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that the Notice of Removal was electronically filed with the Clerk

  of Court by using the CM/ECF system and was served via e-mail on counsel for Plaintiff, Jason

  S. Remer, Esq. (jremer@rgpattorneys.com), Miriam Brooks, Esq. (mbrooks@rgpattorneys.com),

  Manuel A. Antommattei, Esq. (maa@rgpattorneys.com), Remer & Georges-Pierre, PLLC, 44

  West Flagler Street, Suite 2200, Miami, FL 33130, on this 22nd day of November 2019.


                                                             s/Ena T. Diaz
                                                        ENA T. DIAZ




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